                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


 Food Lion, LLC, and Maryland and Virginia
 Milk Producers Cooperative Association,
 Inc.

                       Plaintiffs,
                                                   Case No. 1:20-cv-00442
v.

Dairy Farmers of America, Inc.,

                       Defendant.


                  PLAINTIFFS’ FIRST MOTION TO COMPEL
               AND REQUEST FOR EXPEDITED CONSIDERATION

       Pursuant to Federal Rule of Civil Procedure 37, and Local Rule 37.1, Plaintiffs

Food Lion, LLC (“Food Lion”) and the Maryland and Virginia Milk Producers

Cooperative Association, Inc. (“MDVA”), by and through undersigned counsel, move to

compel Defendant Dairy Farmers of America, Inc. (“DFA”) to produce certain

documents responsive to Requests Nos. 1 and 3 of Plaintiffs’ First Requests for

Production. DFA argues that it need not produce these relevant and responsive

documents because (1) the documents are supposedly exempt from discovery under

Federal Rule of Evidence 408, and (2) it is free to “decline” to produce materials (already

produced to the Department of Justice in its antitrust review) when it believes Plaintiffs

are attempting to “relitigate” a prior case. Because neither argument identifies a

cognizable basis to withhold responsive documents, Plaintiffs respectfully request that




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the Court enter an order compelling DFA to immediately produce any documents it has

withheld on these bases. A short memorandum in support is attached.

       The parties have agreed to conduct discovery in this litigation on an expedited

basis, including completing document production by October 2, 2020, and fact

depositions by October 31, 2020. The parties are currently negotiating a procedure for

expedited briefing of discovery issues in light of this expedited schedule, and will inform

the Court if they are unable to come to an agreement. Plaintiffs respectfully ask that the

Court, once briefing is completed, consider this Motion to Compel on an expedited basis.


DATED: August 24, 2020                    Respectfully submitted,

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                          CERTIFICATE OF CONFERENCE

       Pursuant to Local Rule 37.1(a), I certify that after personal consultation and

diligent attempts to resolve differences, the parties are unable to reach an accord. Carter

Simpson and Jack Martin, for Food Lion, and Amber McDonald, counsel for DFA,

exchanged letters and spoke by telephone to discuss the matters above. Carter Simpson

sent a letter to Amber McDonald on July 31, 2020, confirming DFA’s positions as stated

above. Amber McDonald sent a response letter on August 10, 2020, confirming that DFA

is committed to its Rule 408 position. The parties discussed these positions by telephone

on August 10, 2020. The parties again discussed the Southeastern Milk materials

produced to the Department of Justice by telephone on August 11, 2020, at which time

the parties confirmed they had reached impasse. Food Lion memorialized this

conversation in a letter sent August 18, 2020.


                                           /s/ Carter S. Simpson
                                           Carter S. Simpson
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